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              In the United States Court of Federal Claims
                                       No. 07-694C
                                (Filed October 19, 2007) 1/
 ***********************                       *
                                               *
 MANSON CONSTRUCTION CO.,                      *   Contracts; post-award bid
                                               *   protest; best-value negotiated
                   Plaintiff,                  *   procurement; tradeoff analysis;
                                               *   prejudice.
            v.                                 *
                                               *
 THE UNITED STATES,                            *
                                               *
                    Defendant,                 *
                                               *
            and                                *
                                               *
 GREAT LAKES DREDGE & DOCK                     *
 CO., LLC,                                     *
                                               *
                    Intervenor-Defendant.      *
                                               *
 ***********************                       *
      Michael H. Payne, Ft. Washington, PA, for plaintiff. Joseph A. Hackenbracht and
Timothy A. Sullivan, Payne Hackenbracht & Sullivan, of counsel.

      Ellen M. Lynch, Department of Justice, Washington, DC, with whom was Assistant
Attorney General Peter D. Keisler, for defendant. John Breiling, Senior Counsel, Office of
Counsel, U.S. Army Corps of Engineers, Portland, OR, of counsel.

      Daniel C. Sauls, Washington, DC, for intervenor-defendant Great Lakes Dredge &
Dock Co., LLC. Thomas P. Barletta, Steptoe & Johnson, LLP, of counsel.

                     MEMORANDUM OPINION AND ORDER

MILLER, Judge.


       1/ This opinion originally was filed under seal on October 12, 2007. By ¶ 2 of the
ordering language, the parties were requested to notify the court of any redactions. All
redactions requested are denoted by brackets.
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       This post-award bid protest is before the court after argument on the parties’ cross-
motions for judgment on the administrative record. At the conclusion of argument on
October 11, 2007, the court issued a bench ruling stating its findings of fact and conclusions
of law pursuant to RCFC 52(a). This memorandum opinion and order memorializes those
findings and conclusions.

                                PROCEDURAL HISTORY

        This post-award bid protest concerns Solicitation W9127N-07-R-0022, the Columbia
River Channel Improvement Project (“CRCIP”) Phase III Dredging (“the Solicitation”),
issued July 24, 2007, and amended twice thereafter. The Administrative Record (the “AR”)
is the source of the relevant facts. The Army Corps of Engineers, Portland, Oregon Division
(the “Corps”), sought to deepen a portion of the Columbia River from -40 feet to -43 feet by
dredging the river bed. The Solicitation was structured as a best-value negotiated
procurement; offerors were directed to submit their proposals by 2:00 p.m. on August 29,
2007.

       Two companies submitted proposals in response to the Solicitation: Manson
Construction Co. (“plaintiff”) and Great Lakes Dredge and Dock Co., LLC (“GLDD”). On
September 6, 2007, 2/ the Source Selection Authority (the “SSA”), Ralph Banse-Fay, issued
his Source Selection Decision (the “SSD”) directing award of the contract to GLDD. Notice
of Award was sent to GLDD on September 10, 2007; Notice of Non-Award, including a
Debriefing of Source Selection, was sent to plaintiff on the same date.

        On September 26, 2007, plaintiff filed a complaint in the United States Court of
Federal Claims alleging that the Corps did not follow its Evaluation Plan in three significant
respects: first, that its evaluation of plaintiff’s non-price proposal was arbitrary and
capricious, Compl. filed Sept. 26, 2007, ¶¶ 27-31, 41-68; second, that its evaluation of
plaintiff’s price was inaccurate and arbitrary and capricious, Id. at ¶¶ 32-40; and, third, that
it did not engage in a proper tradeoff analysis and should have awarded plaintiff the contract
because plaintiff’s proposal, although ranked lower than GLDD’s proposal on non-price
factors, was the lowest priced proposal by just over [             ], id. at ¶¶ 69.




        2/ Plaintiff contended that the SSD was issued on August 30, 2007. Although the
first page of the SSD bears the typed date “August 30, 2007,” the signature of the SSA is
stamped September 6, 2007. Based on the record, the court finds that the SSD was finalized
on September 6, 2007.

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       On September 27, 2007, the court granted GLDD’s unopposed motion to intervene
under RCFC 24(a); noted plaintiff’s withdrawal of its motion for a temporary restraining
order; consolidated plaintiff’s motion for a preliminary injunction with proceedings on the
merits pursuant to RCFC 65(c); granted defendant’s motion for a protective order; directed
defendant to file the Administrative Record on October 1, 2007; directed the parties to file
simultaneous cross-motions for judgment on the administrative record by October 5, 2007;
and directed the parties to file their simultaneous oppositions and replies on October 9, 2007.
Argument was held on October 11, 2007; the court had committed to issuing a decision by
October 12, 2007. 3/

                                       DISCUSSION

I. Standard of review

       As it did in its bench ruling, the court incorporates by reference pages 9-14 of its slip
opinion in Erinys Iraq Ltd. v. United States, No. 07-562C, 2007 WL 2714167 (Fed. Cl. Sep.
14, 2007), pertaining to standing, the standard of review of a bid protest to a best-value
negotiated procurement, the standard of review for judgment on the administrative record,
and the standards for obtaining injunctive relief.

II. Success on the merits

        Plaintiff has standing to pursue this action because it was an actual bidder in this
solicitation and because its direct economic interest has been affected by the award of the
contract. To demonstrate success on the merits, plaintiff must prove either that the Corps
acted without a rational basis when it excluded plaintiff from the competitive range, or that
the agency action constituted “a clear and prejudicial violation of the applicable statutes or
regulations.” Impresa Construzioni Geom. Domenico Garufi v. United States, 238 F.3d
1324, 1333 (Fed. Cir. 2001). In addition, plaintiff must prove that the Corps’s actions
prejudiced plaintiff. “[I]f the trial court finds that the government’s conduct fails the APA
review under 5 U.S.C. § 706(2)(A), then it proceeds to determine, as a factual matter, if the
bid protestor was prejudiced by that conduct.” Bannum, Inc. v. United States, 404 F.3d 1346,
1351 (Fed. Cir. 2005). “[T]he prejudice determination assesses whether an adjudged
violation of law warrants setting aside of [defendant’s determination].” Id. at 1357.




       3/ This memorandum opinion and order incorporates the bench ruling and does not
supersede it.

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        Plaintiff attacks the Solicitation on three major grounds. First, plaintiff argues that
the Corps’s evaluations of two of plaintiff’s non-price evaluation factors, Technical Plan and
Management Plan, were improper and arbitrary and capricious. Plaintiff next argues that the
Corps improperly cited plaintiff’s price as unbalanced and improperly failed to consider
plaintiff’s clarifications regarding its mobilization/demobilization cost breakdown in a
manner that was arbitrary and capricious. Finally, plaintiff argues that the Corps did not
engage in a proper tradeoff analysis and so should have awarded the contract to plaintiff
because plaintiff’s proposal, although ranked lower than GLDD’s proposal on non-price
factors, was the lowest priced proposal by just over [           ]. Plaintiff does not succeed
in any of these arguments.

       The court made findings with respect to each of the following arguments:

       1. The Evaluation Plan and the composition of the Technical Evaluation Team

        Plaintiff contends that the Corps’s evaluation of non-price factors was fundamentally
flawed because it did not follow the Evaluation Plan, AR Tab 6 at 542-551. In particular,
plaintiff noted that the Evaluation Plan directed that the Technical Evaluation Team (the
“TET”) “will be comprised of” three listed individuals, two civil engineers and one civil
engineer-in-training and two listed alternates, both civil engineer technicians. During the
evaluation some of these members listed were shifted to the Price Evaluation Team in order
to address an issue with the Independent Government Estimate. AR Tab 31 at 1026. The
two participating members of the TET were Richard Dylan Davis, one of the originally listed
civil engineers, and Elizabeth Smock, one of the civil engineer technicians originally listed
as an alternate. See AR Tab 6 at 542.

       The Evaluation Plan, however, was an internal document and marked “Procurement
Sensitive” and “FOR OFFICIAL USE ONLY” at the bottom of each page. See id. at 542-
551. Internal agency documents that are not distributed as part of a solicitation do not
themselves confer rights to potential offerors. See Lincoln Servs. Ltd. v. United States, 678
F.2d 157, 163-166 (Ct. Cl. 1982); see also In re Delta Dental of California, B-296307, 2005
C.P.D. ¶ 152, 2005 WL 1994327 (GAO Jul. 28, 2005); In re DTH Mgmt. JV, B-283239,
99-2 C.P.D. ¶ 68, 1999 WL 828064 (GAO Oct. 6, 1999). During argument plaintiff
conceded that the Evaluation Plan was not distributed to potential offerors as part of the
Solicitation, that plaintiff did not see the Evaluation Plan until the filing of the administrative
record under seal, and that the Evaluation Plan was not incorporated into the Solicitation.
The Evaluation Plan was an internal guide to assist the Corps in organizing the Solicitation,
and the AR reflects that the SSD was prepared in accordance to the terms of the Solicitation.
See AR Tab 31 at 1024-30.



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       2. “Disposal Plan for Dredged Material” sub-factor

        Plaintiff charges that the Corps did not evaluate properly plaintiff’s proposal in
connection with the “Disposal Plan for Dredged Material” sub-factor of the Technical Plan.
Plaintiff proposed to use [ ] of seven possible upland disposal sites for dredged material.
Plaintiff argues that the Corps improperly reduced plaintiff’s rating on this sub-factor
because the number of disposal sites did not constitute an evaluation factor. The record
refutes this argument. The Solicitation included instructions to bidders outlining the
operative evaluation factors. Regarding the “Disposal Plan for Dredged Material” sub-factor,
the Corps would “evaluate how effectively and completely the plan discusses . . . . [u]pland
disposal sites to be used and estimated quantity disposed in each (including in-water).” AR
Tab 5 at 49. Consideration of the number of upland disposal sites in an offeror’s proposal
inheres in the terms of the evaluation criteria for this sub-factor. Plaintiff’s arguments on the
cost of diking upland sites notwithstanding, it was not arbitrary or capricious for the Corps
to consider the number of sites in an offeror’s proposal when considering “[u]pland disposal
sites to be used.” Id.

        Plaintiff also asserts that the Corps improperly faulted plaintiff for proposing to
dispose of over [                     ] of material at the Martin Bar site, thereby failing to take
into account its clarification that it was only proposing to dispose of approximately [
                  ] at that site. The Corps did take this clarification in to account. The SSD
tradeoff analysis reflects the [                         ] figure, AR Tab 31 at 1028. While an
earlier narrative based on the TET’s reports, id. at 1027, does cite a figure of 2 million cubic
yards, it is derived from the TET’s reports compiled on August 29, 2007; plaintiff provided
clarifications via email on September 4, 2007. The SSD, signed September 6, 2007, reflects
these clarifications. Plaintiff argues that the Corps misconstrued its proposal to haul dredged
material as involving trucking, rather than its expressed plan to haul the material on a dredge.
The Corps’s assumption, however, was reasonable. Plaintiff planned on dumping material
into in-water rehandling sites, then pumping the material out of the water using a pipeline
dredge. AR Tab 14 at 622. A pipeline dredge is stationary platform and cannot haul material
in the manner that a hopper dredge, a self-propelled vessel, could perform the operation.

       3. Insufficiently descriptive plan that repeated the specification

        Plaintiff argues that its proposal was sufficiently descriptive and did more than repeat
the specifications; therefore, the Corps improperly reduced plaintiff’s rating on non-price
factors for lack of detail. The terms of the Solicitation explicitly demanded both detail and
more than mere repetition. See AR Tab 6 at 52 (“Proposals submitted in response to this
solicitation must include sufficient detailed data and plans to be evaluated under these
criteria. Omitted and ambiguous data will result in proposals receiving lower scores.”); id

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(“The proposal shall contain methods of approach to the services required and other
information considered pertinent to meeting the requirements. The proposal shall not merely
offer to perform the work in accordance with, or simply repeat, the specifications, but shall
discuss the actual methods proposed as specifically as possible. Responses in the proposal
shall reflect an understanding of the work environment, contract requirements, technical
approaches, principles and techniques. Repeating or restating the specifications without
sufficient elaboration will not be acceptable.”).

        Intervenor GLDD’s brief includes a set of tables setting forth a number of instances
where plaintiff substantially repeated the terms of the Solicitation. See GLDD’s Br. filed
Oct. 5, 2007, at app. 3-4. The AR reveals that GLDD also reiterated the specifications, but
not to the extent that plaintiff recast them. Unarguably, GLDD’s proposal included more
detail. The SSD noted the repetition and the lack of detail in plaintiff’s proposal, and it was
proper for the SSA to consider both. AR Tab 31 at 1026-27.

       4. Plaintiff’s Management Plan

       Plaintiff takes issue with the Corps’s characterization of its Management Plan as
[       ] AR Tab 31 at 1027, and lacking a [               ]. The evaluation criteria for the
Management Plan did not require a specific number of management personnel, but did state
that “Project Management plans will be evaluated for realism and flexibility.” AR Tab 5 at
51. Plaintiff proposed a site management team of [

            ]. AR Tab 14 at 635-36. Its proposal plan provided [

                                                                                  ] Id. at 636.
Plaintiff estimated that the project would require [                 ]. Id. at 639. [

                                                                                            ]
Plaintiff argues that the TET chairman, Mr. Davis, noted that plaintiff provided “good
rotation,” but it misconstrues Mr. Davis’s comments. Mr. Davis’s comment pertained to the
rotation of the professional engineers in the context of the Technical Plan, not the rotation
of management personnel in the context of the Management Plan. Indeed, Mr. Davis
specifically noted the [
                                                                                   ] See AR
Tab 31 at 1028.

      Plaintiff also argues that it improperly was faulted for not including a resume for the
Shore Crew Superintendent position or for any Surveyor positions in its Management Plan
because these were not evaluation criteria and because surveyors are usually not considered

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management personnel in a dredging operation. The text of the Solicitation indicates
otherwise, as offerors were directed to provide resumes for team members, including both
the Shore Crew Superintendent and Surveyors. AR Tab 5 at 51.

       5. Pricing evaluation

        Plaintiff argues that it improperly was faulted for two aspects of its pricing proposal.
First, plaintiff notes that, in the Corps’s September 10, 2007 notice of non-award and
debriefing letter, one of the listed “Significant Strengths and Weaknesses” was that plaintiff
“[f]ailed to submit Mob[ilization]/Demob[ilization] Cost Breakout with proposal.” AR Tab
38 at 1541. After plaintiff did not provide this information initially, its clarification email
dated September 4, 2007, gave the breakdown. Second, plaintiff argues that its pricing for
Contract Line Item Numbers 0003 and 0005 was not materially unbalanced because the
prices were not mathematically unbalanced, and so it was improper for the SSD to consider
its prices unbalanced. Neither of these factors was prejudicial. In respect to both issues,
plaintiff’s price was accepted by the SSA and considered as given, not rejected outright.
Because neither issue affected the SSA’s decision to accept the prices, it could not have
prejudiced plaintiff. See AR Tab 31 at 1028 (reflecting plaintiff’s proposed price of
[                ].

       6. Award without negotiations was proper

       Plaintiff also argues that it was improper for the Corps to award the contract in a best-
value negotiated procurement without engaging in post-offer, pre-award negotiations.
Plaintiff notes that the SSA’s narrative regarding negotiations in the SSD ¶ 9, AR Tab 31 at
1028, reflects a misunderstanding of negotiated procurement. The terms of the Solicitation,
however, announced that the Corps contemplated award without negotiations. The
Solicitation incorporated 48 C.F.R. (FAR) § 52.215-1 (2006), AR Tab 5 at 48, of which the
relevant portion reads: “The Government intends to evaluate proposals and award a contract
without discussions with offerors.” FAR 52-215-1(f)(4). The Corps never intended to
conduct negotiations prior to award and was under no obligation to do so.

       Based on the above findings, plaintiff has failed to prove the merits of its case.

III. Other factors required for injunctive relief

       In addition to (1) success on the merits, injunctive relief requires a protestor to
demonstrate that (2) it will suffer irreparable harm if injunctive relief is not granted; (3) the
harm to plaintiff if an injunction is not granted outweighs the harm to the Government if an
injunction is granted; and (4) the injunction is not against the public interest. PGBA, LLC

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v. United States, 389 F.3d 1219, 1228-29 (Fed. Cir. 2004); FMC Corp. v. United States, 3
F.3d 424, 427 (Fed. Cir. 1993). This is a case in which success on the merits was the
definitive factor in determining plaintiff’s entitlement to an injunction. The bench ruling
explained that, coupled with failing to prove the merits of its case, plaintiff could satisfy only
one of the other three factors for injunctive relief.

                                       CONCLUSION

       Accordingly, based on the foregoing,

       1. Defendant and intervenor’s cross-motions are granted, and plaintiff’s cross-motion
is denied. The Clerk of the Court shall enter judgment for defendant and intervenor.

       2. By October 19, 2007, the parties shall identify by brackets any material subject to
redaction before the opinion issues for publication.

       IT IS SO ORDERED.




                                                   s/ Christine O.C. Miller
                                             ______________________________
                                                   Christine Odell Cook Miller
                                                   Judge




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